                                                                             ____ FILED                                  ___ ENTERED
                Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 1 of 12
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                                                                                                      1:33 pm, Apr 08 2021
                                                                            U.S. Department of Justice
                                                                                                              AT GREENBELT
                                                                            United States Attorney            CLERK, U.S. DISTRICT COURT
                                                                            District ofMaryland               DISTRICT OF MARYLAND
                                                                                                                       DG
                                                                                                              BY ______________Deputy
                                                                            Southern Division

      Leah B. Grossi                      Mailing Address:                  Office Location:           DIRECT: 301-344-4235
1"'
  i.J Assistant United States Attorney    6500 Cherrywood Lane, Suite 200   6406 Ivy Lane, SU' Floor     MAIN: 301-344-4433
      Leah.Grossi@usdoj.gov               Greenbelt, MD 20770-1249          Greenbelt, MD 20770-1249      FAX: 301-344-4516



                                                                        November 16, 2020

      Michael March
      Rosenberg Martin Greenberg, LLP
      25 South Charles Street, 21st Floor
      Baltimore, Maryland 21201

                 Re:        United States v. Lenore G. Worthy,
                            Crim. No. PWG 21-064

      Dear Mr. March:

             This letter confirms the plea agreement (this "Agreement") that has been offered to your
     client, Lenore G. Worthy (hereinafter "Defendant"), by the Department of Justice's Tax Division
     and the United States Attorney's Office for the District of Maryland ("this Office"). If the
     Defendant accepts this offer, please have the Defendant execute it in the spaces provided below.
     If this offer has not been accepted by 5:00 p.m. on November 20, 2020, it will be deemed
     withdrawn. The terms of the Agreement are as follows:

                                                   Offenses of Conviction

             I.     The Defendant agrees to plead guilty to Count One and Count Two of an
     Information to be filed against her, which will charge the Defendant in Count One with Conspiracy
     to Defraud the United States, in violation of 18 U.S.C. § 371, and in Count Two with Aiding and
     Assisting the Preparation and Filing of a False and Fraudulent Return, in violation of 26 U.S.C.
     § 7206(2). The Defendant admits that the Defendant is, in fact, guilty of the offenses and will so
     advise the Court.

                                                  Elements of the Offenses

             2.      The elements of the offenses to which the Defendant has agreed to plead guilty, and
     which this Office would prove if the case went to trial, are as follows: That on or about the time
     alleged in the Information, in the District of Maryland-

                    a.    Count One (Conspiracy to Defraud the United States): (1) two or more
     persons entered into the unlawful agreement charged in the Information; (2) the Defendant
     knowingly and willfully became a member of the conspiracy; (3) one of the members of the
     conspiracy knowingly committed at least one of the overt acts charged in the Information; and (4)
     the overt act was committed to further some objective of the conspiracy.

     Rev. August 2018
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 2 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 3 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 4 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 5 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 6 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 7 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 8 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 9 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 10 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 11 of 12
Case 8:21-cr-00064-PWG Document 11 Filed 04/08/21 Page 12 of 12
